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 8                               UNITED STATES DISTRICT COURT
 9                              CENTRAL DISTRICT OF CALIFORNIA
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11   JAMES E. ANDREWS on behalf of                    EDCV 17-1724 PA (AFMx)
     himself and all persons similarly situated,
12                                                    JUDGMENT
                   Plaintiff,
13
            v.
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     SIRIUS XM RADIO INC., and Does 1
15   through 100 inclusive,
16                 Defendants.
17
18          Pursuant to the Court’s January 9, 2018 Minute Order granting the Motion for
19   Summary Judgment filed by defendant Sirius XM Radio Inc. (“Defendant”), which granted
20   summary judgment to Defendant on the claim asserted individually by plaintiff James E.
21   Andrews (“Plaintiff”), and denying Plaintiff’s Motion to File First Amended Complaint,
22          IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that Defendant shall
23   have judgment in its favor against Plaintiff.
24          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that Plaintiff’s
25   individual action is dismissed with prejudice.
26   //
27   //
28   //
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 1          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that Plaintiff take
 2   nothing and that Defendant shall have its costs of suit.
 3   DATED: January 9, 2018                              _________________________________
                                                                    Percy Anderson
 4                                                         UNITED STATES DISTRICT JUDGE
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